        Case 4:05-cr-00305-SWW Document 1297 Filed 09/18/13 Page 1 of 1


                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION


UNITED STATES OF AMERICA                                                             PLAINTIFF

v.                                No. 4:05CR00305-031 SWW

FREDERICK W. ROBINSON                                                             DEFENDANT


                                             ORDER

       The defendant is directed to sign a release for his medical records at Rivendell Behavioral

Health Services of Arkansas for the dates from on or about September 6, 2013 to September 15,

2013, for Conway Regional Hospital from on or about September 6, 2013 and for Arkansas

Children’s Hospital from on or about September 17, 2013. When the records are obtained by the

U. S. Probation Office, a copy of the records will be provided to the Court, counsel for the

government and the defense counsel. A hearing will be scheduled immediately upon the Court

being notified that the defendant is medically able to attend.

       IT IS SO ORDERED this 18th day of September 2013.


                                                      /s/Susan Webber Wright
                                                      UNITED STATES DISTRICT JUDGE
